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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 UNITED STATES OF AMERICA                               §
                                                        §    CASE NO. 4:23-CR-218
 vs.                                                    §
                                                        §
 (1) HARDIK JAYANTILAL PATEL,                           §
                                                        §
                        Defendant.                      §

       GOVERNMENT’S UNOPPOSED MOTION TO EXTEND SENTENCING DATE
                       AND RELATED DEADLINES

         The United States of America respectfully moves the Court to continue the sentencing

hearing of Defendant Hardik Jayantilal Patel and all related deadlines by ninety (90) days, and in

support states:

         On December 1, 2023, Mr. Patel entered a guilty plea to Count One of the Indictment,

Conspiracy to Commit Mail Fraud in violation of 18 U.S.C. § 1349, pursuant to a written Plea

Agreement.

         Mr. Patel is currently set for sentencing on November 13, 2024. The Initial Presentence

Investigation Report was due on October 4, 2024. Docket Entry No. 71 (PSI Order).

         For the reasons set forth in the sealed attachment to this motion, the Government

respectfully requests that the sentencing and PSR-related dates set by the Court be extended by an

additional 90 days.

         The Government has conferred with counsel for Mr. Patel, and counsel has advised that he

has no objection to the requested extension.
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                                                  Respectfully submitted,

                                                  Alamdar S. Hamdani
                                                  United States Attorney

                                           By:     /s/ Stephanie Bauman
                                                  Stephanie Bauman
                                                  Assistant United States Attorney
                                                  1000 Louisiana, Suite 2300
                                                  Houston, Texas 77002
                                                  Telephone (713) 567-9000

                           CERTIFICATE OF CONFERENCE

       On October 11, 2024, I conferred by e-mail with Steven Block, attorney of record for
Defendant Hardik Jayantilal Patel. Mr. Block advised that he is unopposed to the requested
continuance.

                                                   /s/ Stephanie Bauman
                                                  Stephanie Bauman
                                                  Assistant United States Attorney


                              CERTIFICATE OF SERVICE

       A true and correct copy of this document and sealed attachment was served on Steven
Block, attorney of record for Defendant Hardik J. Patel, by e-mail on October 15, 2024. A copy
was also sent by e-mail to U.S. Probation.

                                                   /s/ Stephanie Bauman
                                                  Stephanie Bauman
                                                  Assistant United States Attorney




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